                  Case 2:21-cv-05865-RGK-ADS Document 27 Filed 05/26/22 Page 1 of 2 Page ID #:154



                                 1
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                                 5                                                         DENIED BY THE COURT
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                                                                                           Hon. R. Gary Klausner
                                 7   Willmore F. Holbrow, III                              U.S. District Judge
                                 8   Buchalter PC                                   Dated: May 25, 2022
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                                     Attorneys for Defendant,
                            13       Complex Media, Inc.
                            14                            UNITED STATES DISTRICT COURT
                            15                          CENTRAL DISTRICT OF CALIFORNIA
                            16
                                     BACKGRID USA, INC., a California         Case No.: 2:21-cv-05865
                            17       Corporation,                             Hon. R. Gary Klausner
                            18
                                                     Plaintiff,               [PROPOSED] ORDER
                            19                                                GRANTING DEFENDANT
                            20               v.                               COMPLEX MEDIA, INC.’S
                                                                              REQUEST FOR LIMITED
                            21       COMPLEX MEDIA, INC., a Delaware          CONTINUANCE [25]
                            22       Corporation; and DOES 1-10, inclusive,

                            23
                            24                       Defendants.
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        LOS ANG EL ES                   [PROPOSED] ORDER GRANTING REQUEST FOR LIMITED CONTINUANCE
                  Case 2:21-cv-05865-RGK-ADS Document 27 Filed 05/26/22 Page 2 of 2 Page ID #:155



                                 1         The Court having considered Defendant Complex Media, Inc.’s
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                                     (“Complex”) Request for a Limited Continuance, and finding good cause therefor,
                                 3
                                 4         IT IS HEREBY ORDERED that the Request is GRANTED and all
                                 5 upcoming deadlines including the trial date are extended by thirty (30) days.
                                 6
                                 7
                                 8
                                                                          DENIED BY THE COURT
                                 9 Dated: ______________            By:_______________________________________
                                                                        R. GARY KLAUSNER
                            10                                          Judge - U.S. District Court
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                                     BN 70649946v1                 2
        LOS ANG EL ES                   [PROPOSED] ORDER GRANTING REQUEST FOR LIMITED CONTINUANCE
